Case 17-31795           Doc 2349        Filed 01/19/22 Entered 01/19/22 22:08:13                     Desc Main
                                        Document      Page 1 of 4



                          THE UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION


    In re                                                          Chapter 11

    BESTWALL LLC, 1                                                Case No. 17-31795 (LTB)

                    Debtor.


      JOINT SUPPLEMENTAL OBJECTION OF THE OFFICIAL COMMITTEE OF
     ASBESTOS CLAIMANTS AND THE FUTURE CLAIMANTS’ REPRESENTATIVE
       TO THE MOTION OF THE DEBTOR TO (A) APPROVE RESOLVED CLAIM
        SAMPLE AND (B) AUTHORIZE RELATED DISCLOSURE PURSUANT TO
               RULE 502(d) OF THE FEDERAL RULES OF EVIDENCE

            The Official Committee of Asbestos Claimants (the “Committee”) and Sander L.

Esserman, in his capacity as the Future Claimants’ Representative (the “FCR” and together with

the Committee, the “Claimants’ Representatives”), by and through their undersigned counsel,

hereby file this supplemental objection (the “Supplemental Objection”) to the Motion of the

Debtor to (A) Approve Resolved Claim Sample and (B) Authorize Related Disclosure Pursuant

to Rule 502(d) of the Federal Rules of Evidence [Docket No. 2183] (the “Claim Sample

Motion”) filed by Bestwall LLC (“Bestwall” or the “Debtor”). In support of their Supplemental

Objection, the Claimants’ Representatives state as follows:

            1.     The Claim Sample Motion seeks this Court’s endorsement of the “Resolved

Claim Sample,” as defined therein, as “appropriate for use in the estimation proceeding . . . both

for trust discovery and disclosure of privileged information by the Debtor.” Claim Sample

Motion at 2.



1
  The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address is 133 Peachtree
Street, N.W., Atlanta, Georgia 30303.


23838637-v1
Case 17-31795          Doc 2349    Filed 01/19/22 Entered 01/19/22 22:08:13             Desc Main
                                   Document      Page 2 of 4



       2.      Subsequent to filing the Claim Sample Motion, the Debtor noticed and served

subpoenas on multiple plaintiffs’ law firms, including The Ferraro Law Firm, P.A.; Waters &

Kraus, LLP; and Peter Angelos Law, P.C (together, the “Plaintiff Firm Subpoenas”). [Docket

Nos. 2273, 2285]. These subpoenas specifically identify six claimants that appear to be included

in neither the Resolved Claim Sample nor the broader 2,700 claim files already selected by the

parties, as follows:

                        Law Firm                    Reference ID
                        Ferraro Law Firm            GP.2E537AB
                        Ferraro Law Firm            GP.2DEC091
                        Ferraro Law Firm            GP.2E5327A
                        Waters & Kraus              GP.1D03E75
                        Angelos Firm                GP.1D03E52
                        Angelos Firm                GP.2E8D138


       3.      Once again, the Debtor has represented to the Court that a narrow path of the

Debtor’s own choosing—relying solely on the Resolved Claim Sample—is the correct course of

action for all parties, then promptly veered onto a different path that better serves its own

interests. Bestwall protests discovery of its historical case files by the Claimants’

Representatives but apparently does not feel that such limits should apply when it wishes to

depose opposing counsel.

       4.      The Claim Sample Motion and Plaintiff Firm Subpoenas represent yet another

example of the Debtor seeking to cement its informational advantage over the Claimants’

Representatives by limiting the Claimants’ Representatives’ access to a subset of claimant files

while Bestwall simultaneously pursues burdensome discovery of plaintiffs’ attorneys concerning

additional claimants.




                                                 -2-
Case 17-31795        Doc 2349      Filed 01/19/22 Entered 01/19/22 22:08:13             Desc Main
                                   Document      Page 3 of 4



         5.     The Debtor describes the Resolved Claim Sample as a “random, representative,

and efficient sample that can provide a reliable characterization of the resolution history of

Bestwall Mesothelioma Claims.” Claim Sample Motion ¶ 17. If this were indeed the case, there

would be no need to seek documents and deposition testimony concerning claimant files not

included in either the Resolved Claim Sample or the 2,700 previously agreed-upon claimant

files.

         6.     The Debtor is acting inconsistently with its own requests. To permit the unilateral

imposition of an inconsistent standard would needlessly and improperly prejudice the Claimants’

Representatives under the guise of efficiency.

         7.     Thus, in addition to the reasons articulated in The Official Committee of Asbestos

Claimants’ and the Future Claimants’ Representative’s Objection to the Motion of the Debtor to

(A) Approve Resolved Claim Sample and (B) Authorize Related Disclosure Pursuant to Rule

502(d) of the Federal Rules of Evidence (the “Objection”) [Docket No. 2214] the Debtor’s own

actions in seeking information beyond the Resolved Claim Sample demonstrate why the Claim

Sample Motion should not be granted.

         WHEREFORE, for the reasons set forth herein and in the Objection, the Claimants’

Representatives respectfully request that the Court (i) enter an order denying the Debtor’s Claim

Sample Motion; and (ii) grant such other relief as is just and appropriate.

                            [remainder of page intentionally left blank]




                                                 -3-
Case 17-31795      Doc 2349        Filed 01/19/22 Entered 01/19/22 22:08:13           Desc Main
                                   Document      Page 4 of 4




Dated: Charlotte, North Carolina
       January 19, 2022

/s/ Glenn C. Thompson__________                    /s/ Felton E. Parrish_______________
HAMILTON STEPHENS STEELE                           Felton E. Parrish (NC Bar No. 25448)
+ MARTIN, PLLC                                     ALEXANDER RICKS PLLC
Glenn C. Thompson (Bar No. 37221)                  1420 E. 7th Street, Suite 100
525 North Tryon Street, Suite 1400                 Charlotte, North Carolina 28204
Charlotte, North Carolina 28202                    Telephone: (704) 365-3656
Telephone:     (704) 344-1117                      Facsimile: (704) 365-3676
Facsimile:     (704) 344-1483                      Email: felton.parrish@alexanderricks.com
Email: gthompson@lawhssm.com
                                                   -and-
-and-
                                                   James L. Patton, Jr. (Delaware Bar No. 2202)
Linda W. Simpson (Bar No. 12596)                   Edwin J. Harron (Delaware Bar No. 3396)
JD THOMPSON LAW                                    Sharon M. Zieg (NC Bar No. 29536)
Post Office Box 33127                              Travis G. Buchanan (Delaware Bar No. 5595)
Charlotte, North Carolina 28233                    YOUNG CONAWAY STARGATT &
Telephone: (828) 489-6578                          TAYLOR, LLP
Email: lws@jdthompsonlaw.com                       Rodney Square
                                                   1000 North King Street
-and-                                              Wilmington, Delaware 19801
                                                   Telephone: (302) 571-6600
Natalie D. Ramsey (DE Bar No. 5378)                Facsimile: (302) 571-1253
Davis Lee Wright (DE Bar No. 4324)                 Email: jpatton@ycst.com
ROBINSON & COLE LLP                                         eharron@ycst.com
1201 N. Market Street, Suite 1406                           szieg@ycst.com
Wilmington, Delaware 19801                                  tbuchanan@ycst.com
Telephone:    (302) 516-1700
Facsimile:    (302) 516-1699                       Counsel to the Future Claimants’
Email: nramsey@rc.com                              Representative
       dwright@rc.com

Counsel to the Official Committee
of Asbestos Claimants




                                             -4-
